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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
In re:                                                  Chapter 11

PURDUE PHARMA L.P, et al.,1                             Case No. 19-23649- rdd

                                                        (Joint Administration Pending)

                 Debtors.

    MOTION OF MICHAEL R. MORANO, ESQUIRE TO PRACTICE PRO HAC VICE

         I, Michael R. Morano, Esquire, request admission, pro hac vice, before the Honorable

Robert D. Drain, Bankruptcy Judge, to represent Westchester Fire Insurance Company and its

affiliated sureties, creditors in the above-referenced case.

         I certify that I am a member in good standing of the bars of the State of New York, the

State of New Jersey and the United States District Court for the District of New Jersey.

         I have submitted the filing fee of $200.00 with this motion for pro hac admission.


Dated: September 17, 2019                            Respectfully submitted,

                                                     MCELROY, DEUTSCH, MULVANEY
                                                     & CARPENTER, LLP

                                                     /s/ Michael R. Morano
                                                     Michael R. Morano, Esq.
                                                     1300 Mount Kemble Ave.
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  The Debtors in these chapter 11 cases, along with the last for digits of each Debtor’s registration number in the
applicable jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnic Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stambford, CT 06901. A motion for joint administration is pending.
